            Case 1:24-cr-00200-ER          Document 30 Filed 01/07/25 Page 1 of 1
                                                     U.S. Department of Justice
   [Type text]
                                                          United States Attorney
                                                          Southern District of New York
                                                          26 Federal Plaza
                                                          New York, New York 10278


                                                          January 6, 2025

   BY ECF
   The Honorable Edgardo Ramos
   United States District Judge
   Southern District of New York
   Thurgood Marshall United States Courthouse
   40 Foley Square
   New York, NY 10007

          Re:         United States v. Rivera, 24 Cr. 200 (ER)

   Dear Judge Ramos:

          The Court scheduled a hearing on the defendant’s pending motion to suppress for January
   29, 2025. The Government respectfully requests an adjournment of the hearing because a key
   Government witness is unavailable that day. The Government has conferred with defense counsel
   who consents to an adjournment to the week of March 31, 2025, or thereafter.

          The Government respectfully requests that the time between today and the forthcoming
   hearing be excluded pursuant to the provisions of the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A).
   The Government submits that the ends of justice served by granting the proposed exclusion
   outweigh the best interests of the public and the defendant in a speedy trial, as the proposed
   exclusion will allow the parties time to discuss the possibility of a pretrial resolution of this case.
   Defense counsel has informed the Government that he consents to this request.

                                                                    Respectfully submitted,
The hearing scheduled for January 29, 2025,
is adjourned to April 2, 2025, at 10 a.m. Speedy'                   EDWARD Y. KIM
trial time is excluded from January 29, 2025, until                 Acting United States Attorney
April 2, 2025, in the interest of justice.
SO ORDERED.

                                                          By:       ________________________
                                                                    Amanda C. Weingarten
                                                                    Adam Sowlati
          1/7/2024                                                  Assistant United States Attorneys
                                                                    Southern District of New York
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   cc (by ECF): Ezra Spilke, Esq.
